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 5                                UNITED STATES DISTRICT COURT
 6                                       DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                 )
                                               )
 9                     Plaintiff,              )                 Case No. 2:13-cr-00018-JCM-GWF
                                               )
10   vs.                                       )                 ORDER
                                               )
11   DAVID BALL,                               )
                                               )
12                     Defendant.              )
     __________________________________________)
13
14          This matter is before the Court on the Government’s Motion for Order to Disclose Financial
15   Affidavit of Defendant David Ball (#258), filed on March 3, 2014. Defendant did not file a written
16   response to the Motion. The Court conducted a hearing in this matter on April 10, 2014, at which
17   Defendant’s counsel stated that Defendant Ball does not oppose the release of Defendant Ball’s
18   financial affidavit to the Government.
19          Based on the Court’s review of the Government’s motion, there appears to be good cause
20   for disclosure of Defendant Ball’s January 16, 2013 financial affidavit, Docket No. 24, to the
21   Government. The Court, however, will not grant the Government’s request for records of calls or
22   communications between Defendant Ball and the Pretrial Services office, or that Pretrial Services
23   be ordered to make its officers available for interviews by law enforcement officers. Accordingly,
24          IT IS HEREBY ORDERED that Government’s Motion for Order to Disclose Financial
25   Affidavit of Defendant David Ball (#258) is granted as follows:
26   ...
27   ...
28   ...
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 1          The Court Clerk shall disclose and deliver a copy of Defendant’s financial affidavit, Docket
 2   No. 24, to counsel for the Government. Defendant’s financial affidavit shall otherwise remain
 3   under seal unless hereafter otherwise ordered by the Court.
 4          DATED this 10th day of April, 2014.
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 6                                                ______________________________________
                                                  GEORGE FOLEY, JR.
 7                                                United States Magistrate Judge
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